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  Even as Many Eyes Watch, Brutality at Rikers
  Island Persists (Published 2015)

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  Inmate Jose Guadalupe at the Fishkill Correctional Facility in Beacon, N.Y. Mr.
  Guadalupe has sued the Correction Department over injuries he says he suffered
  at the hands of Rikers Island jail guards. Credit... Richard Perry/The New York
  Times


     Feb. 21, 2015

  On Sept. 2, four correction officers pulled Jose Guadalupe, an inmate
  classified in medical records as seriously mentally ill, into his solitary-
  confinement cell at Rikers Island and beat him unconscious.

  A little over two months later, three guards wrestled another inmate,
  Tracy Johnson, to the floor, pepper-sprayed him in the face and broke
  a bone in his eye socket. Then, on Dec. 9, yet another group of officers
  beat Ambiorix Celedonio, an inmate with an I.Q. of 65, so badly that,
  as surveillance footage later showed, he had bruises and scratches
  on his face and blood coming from his mouth.
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  The brutal confrontations were among 62 cases identified by The
  New York Times in which inmates were seriously injured by correction
  officers between last August and January, a period when city and
  federal officials had become increasingly focused on reining in
  violence at Rikers.

  It was in August that the United States attorney’s office in Manhattan
  issued a damning report about brutality at the jail complex and
  threatened to sue the city unless conditions there improved. And in
  November, Mayor Bill de Blasio declared that ending pervasive
  violence at Rikers had become a top priority for his administration.

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  But The Times’s examination makes clear that the violence has
  continued largely unabated, despite extraordinary levels of outside
  scrutiny, a substantial commitment of resources by Mr. de Blasio and
  a new team of high-ranking managers installed by the correction
  commissioner, Joseph Ponte, who took over the job in April.

  According to Correction Department data, guards used physical force
  against inmates 4,074 times in 2014, the highest total in more than a
  decade. The increase came even as the jail’s average daily population
  continued to decline, falling to 10,000 this year from 14,000 a decade
  ago.

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  Seventy percent of the 62 beatings examined by The Times resulted in
  head injuries, even though department policies direct guards to avoid
  blows to the head unless absolutely necessary. And more than half
  the inmates sustained broken bones.

  In October, a typical month, one inmate had his jaw shattered by a
  guard after being handcuffed and led into an elevator; another had his
  arm broken while handcuffed; and a third had three teeth knocked out.

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  The Times also identified 30 episodes from August to January in
  which officers suffered serious injuries in altercations with inmates.
  While most of the inmates involved sustained head injuries, nearly
  half the guards fractured bones in their hands and fingers, often after
  striking inmates in the head.




  The Rikers Island jail complex, where the use of force by officers against inmates
  continues to result in serious injuries. Credit... Damon Winter/The New York
  Times


  The findings were based on a review of hundreds of pages of
  Correction Department reports detailing the most serious uses of
  physical force by correction officers, city records describing inmate
  injuries, internal city investigative documents and inmate medical
  records. Taken together, they suggest that in the face of an
  unprecedented push to reform Rikers, guards are either being defiant
  or are indifferent to demands for change.

  Correction Department officials said the scheduled opening this week
  of a new unit to house 250 of the jail’s most disruptive inmates should
  help reduce violence. The inmates will be locked in their cells 17
  hours a day, instead of the usual 10, and extra officers will be
  assigned to the unit.
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  “It takes time to undo decades of mismanagement,” the department
  said in a statement. “We are, however, on our way to a jail system that
  is safer and more humane.”

  Brutality by guards has long been a problem at Rikers. In July, The
  Times published an investigation that documented the cases of 129
  inmates who had been seriously injured in encounters with guards
  over an 11-month period in 2013. Within three weeks, Preet Bharara,
  the United States attorney for the Southern District of New York,
  released his report, which described a “deep-seated culture of
  violence” at the complex. And several months after that, Mr. Bharara
  decided to sue the city over conditions at Rikers, joining a class-action
  lawsuit brought by the Legal Aid Society.

  It was on Nov. 20 that Mr. de Blasio convened an unusual hourlong
  news conference devoted almost exclusively to Rikers. He said ending
  the violence there was a “moral obligation” and announced that he
  had set aside tens of millions of dollars for improvements.

  But in trying to turn around Rikers, the de Blasio administration is
  contending with an agency that for years, according to the city’s
  Investigation Department, recruited officers who belonged to gangs,
  had criminal records or both. Training has long been criticized as
  inadequate and, once on the job, guards have learned to look the
  other way and cover up for fellow officers, investigators say.

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  Ultimately, the biggest challenge may be altering the mind-set of the
  9,000 correction officers who work on the island.

  “Changing the culture of violence on Rikers Island will not be easy or
  quick,” said Dr. Robert Cohen, a member of the Board of Correction,
  the city agency that serves as a watchdog over the jails. “It will not
  occur without constant external pressure, and consistent leadership
  within the Department of Correction. The demonization of detainees
  is embedded in everyday practice.”
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  Cover-Ups and Willful Neglect

  Mr. Guadalupe’s altercation with correction officers started
  innocuously, with a disagreement over personal photos he had hung
  on the wall of his cell.

  During a search in September, the guards tore down photos of his
  family, along with pictures of women he had cut out of magazines, he
  said in a telephone interview from Fishkill Correctional Facility. When
  he asked to see a supervisor, Mr. Guadalupe said, the officers pulled
  him into his cell, where there were no surveillance cameras, kicked
  and repeatedly punched him in the face and slammed his head
  against the wall.

  Later, at Bellevue Hospital Center, he was found to have suffered a
  concussion, according to his medical records. He was subsequently
  sent back to Rikers, where he spent the next three weeks in a
  wheelchair.

  Jail clinicians labeled Mr. Guadalupe as “S.M.I.,” or seriously mentally
  ill, in medical records, though the documents do not make clear the
  precise diagnosis. They do indicate that he had “mild mental
  retardation.”




  An excerpt from Mr. Guadalupe's lawsuit.


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  His case typifies the Correction Department’s struggle in dealing with
  inmates who have mental illnesses, a group that now accounts for
  nearly 40 percent of the jail population. It is these inmates —
  particularly ill suited to the jail’s regimen — who tend to behave the
  most erratically, bringing out some of the worst abuses by guards.

  Mr. Guadalupe, 23, dropped out of school in ninth grade and said he
  had never held a job. He has spent five of the last six years
  incarcerated, most recently for using a BB gun to rob a man and then
  trying to get away on a bicycle.

  After being beaten at Rikers, he told a social worker he was scared
  about returning to his cell, according to a transcription of the
  conversation entered into a daily progress note.

  “I am worried I am going to get sent back to the building that I came
  from and that I am going to have to deal with the same officers,” he
  told the social worker.

  “I don’t get along with some officers because they act like they are
  better,” he added. “I have always been this way.”

  Department protocol allows officers to use force when facing an
  immediate threat, but only as much as is necessary to defuse the
  situation. In several of the encounters examined, guards continued to
  use force long after an inmate had been handcuffed.

  That was the case with Pernell Griffin, a member of the Bloods gang
  who is being held awaiting trial on an attempted murder charge. He is
  a contentious and sometimes violent inmate. On Oct. 28, he smashed
  a television and intentionally knocked over a cup of water on an
  officer’s desk, said his lawyer, Jason Leventhal.

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  According to a Correction Department report, three officers in helmets
  and body armor led Mr. Griffin into an elevator, where he head-butted
  and then kicked one of them in the groin. In Mr. Griffin’s version, the
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  officers were the aggressors, handcuffing him first and then
  repeatedly punching him in the face while he was in the elevator.

  What is clear from medical records is that his jaw was shattered so
  badly that it required two surgeries to repair. In the second, according
  to the records, surgeons spent nine hours transplanting bone from his
  hip to his jaw.

  Two days after the surgery, he was put into a solitary-confinement
  cell.

  The same week that Mr. Griffin was beaten, seven guards subdued
  and handcuffed Rauf Yearde, pulling his cuffed hands so far behind
  his back that his left upper arm snapped.




  Correction officers took an oath at the department's promotion and recruit
  graduation ceremony on Feb. 13. Credit... Nicole Bengiveno/The New York Times


  One of the federal report’s key findings was that cover-ups by guards
  and other jail staff members were commonplace. Cases from recent
  months suggest that continues to be true.

  In December, after Mr. Celedonio was beaten, a Correction
  Department report compiled by officers said that the altercation had
  begun when he punched a captain, Medzid Kolenovic, in the face.
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  City investigators came to a different conclusion, based in part on
  their review of surveillance video. They called the officers’ version
  “false,” and noted that Mr. Celedonio “did not react with violence, but
  walked away from the captain,” according to investigative records.

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  The deaths of Jerome Murdough and Bradley Ballard, which attracted
  widespread attention last year after the details were reported by The
  Associated Press, cast a spotlight on a different issue at Rikers:
  willful neglect of inmates by guards. Both men had schizophrenia. Mr.
  Murdough died when the temperature in his cell rose above 100
  degrees; Mr. Ballard was discovered in his cell naked and covered
  with vomit and feces, after being denied food and medicine for nearly
  a week.

  In the aftermath, city officials said that such behavior would no longer
  be tolerated. Yet several recent incidents suggest that even inmates in
  the most desperate circumstances are still being ignored.

  One such inmate, Victor Woods, died on Oct. 1 from abdominal
  bleeding as a guard stood over him drinking a cup of coffee.
  According to an investigative report, it was other inmates who
  stepped in to help, “comforting him, cleaning his face and helping him
  to an upright position.” The report quoted the guard, Wickenson
  DeMaitre, as saying, “I am not touching him.” The report also noted
  that guards were slow to notify medical staff, who took 11 minutes to
  arrive.

  Just days before, an administrative judge had recommended that Mr.
  DeMaitre, a 13-year veteran of the department, be fired over a pair of
  previous arrests. In December 2009, he had been charged with having
  an inappropriate relationship with a 15-year-old relative and sending
  her a photo of a penis. (The teenager later recanted, but the
  administrative judge felt the allegations were credible.) And in April
  2010, Mr. DeMaitre had a restraining order issued against him after he
  pleaded guilty to disorderly conduct for ramming the car of a man
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  who had been on a date with his estranged wife. The administrative
  judge wrote in his Sept. 29 ruling that Mr. DeMaitre displayed “a
  disturbing lack of judgment and self-control” and his conduct “raised
  doubts about his suitability to be a correction officer.”

  A department spokesman said Mr. Woods’s death was being
  investigated but that Mr. DeMaitre had been dismissed, based on the
  judge’s ruling.

  In a brief phone interview, Mr. DeMaitre said only that he had been
  “railroaded.”

  System Allows Repeat Abuses

  Mr. de Blasio has acknowledged that when he came into office he
  underestimated how dysfunctional the Rikers Island complex had
  become and how much effort would be required to fix it.

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  Rikers is made up of 10 jails, many in dire need of physical repairs.
  Compulsory overtime for the officers who staff them is now routine.
  They complain that repeated 16-hour shifts leave them exhausted, on
  edge and with little patience for disruptive inmates.

  For now, the city is concentrating most heavily on turning around a
  single jail, the one that houses the island’s youngest inmates.
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  Joseph Ponte, the correction commissioner, left, spoke with Mayor Bill de Blasio
  during the department's promotion and recruit graduation ceremony on Feb. 13.
  Both men have pledged to reduce violence at the Rikers Island complex. Credit...
  Nicole Bengiveno/The New York Times


  Since federal authorities threatened to intervene in August, the city
  has created several new programs at that jail, increased the size of
  the correctional and clinical staffs there and provided specialized
  training for the guards who work with teenagers.

  In December, the department ended the use of solitary confinement
  for 16- and 17-year-olds. For the first time, they all attend the jailhouse
  school.

  The department has also installed security cameras under stairways
  and in hallways where beatings had long gone on out of sight.

  Mr. Ponte said he hoped the jail would serve as a model for reforming
  the rest of Rikers. But the results so far make clear that it will not be
  easy. Despite all the new initiatives, use of force by guards against the
  youngest inmates spiked in December.

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  Among the most pressing needs is remaking the department’s
  disciplinary system, which seems incapable of holding violent guards
  accountable.

  In December, during a meeting of correction officials, Mr. Ponte
  complained that he had only recently been able to sign off on
  disciplinary action against a captain who had left the department two
  years earlier, according to a city official who was briefed on the
  meeting. Mr. Ponte also expressed concern that the process was
  badly backlogged because of understaffing and low salaries in the
  department’s trials and investigations divisions.

  One of the cases discussed at the meeting involved Officer Ramel
  Small. In June, Mr. Small had begun arguing with an inmate named
  Tamel Brantley, then punched him in the face with a set of keys in his
  hand, an investigative report said. Mr. Brantley’s eye socket and nose
  were broken, and he was kept handcuffed on the floor for over an hour
  without medical attention, the report said. Six months after the
  episode, Mr. Small still had not been interviewed by department
  investigators.

  With a disciplinary system that is so feeble, there are officers who
  have been allowed to abuse inmates again and again, another issue
  highlighted in the United States attorney’s report.

  One guard, Bob Villette, who joined the department in 2006, has been
  involved in at least 88 uses of force, according to department records.
  He has also been named in seven lawsuits, costing the city $450,000
  in settlements for, among other things, cracking the teeth of one
  inmate and rupturing the eardrum of another.

  Mr. Villette, who declined to comment when reached by phone, is a
  member of the elite emergency services unit, which specializes in
  subduing disruptive inmates. Including overtime, he has made over
  $100,000 annually in recent years, city personnel records show.
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  In December, he got into a struggle with Leon Barnes, an inmate
  whose arm was in a sling at the time. According to a department
  report, Mr. Villette wrestled the inmate to the floor, where five other
  officers “applied control holds” and handcuffed him.

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  During the encounter Mr. Barnes suffered a contusion to the scalp, a
  swollen jaw and a broken nose, the report said.

  The six officers reported no injuries.

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